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                  1   JOHNNIE A. JAMES, CA Bar No. 144091
                      johnnie.james@ogletree.com
                  2   MAZEN I. KHATIB, CA Bar No. 306263
                      mazen.khatib@ogletree.com
                  3   OGLETREE, DEAKINS, NASH,
                      SMOAK & STEWART, P.C.
                  4   400 South Hope Street, Suite 1200
                      Los Angeles, CA 90071
                  5   Telephone: 213-239-9800
                      Facsimile: 213-239-9045
                  6
                      Attorneys for Defendant
                  7   U.S. RENAL CARE, INC.
                  8                       UNITED STATES DISTRICT COURT
                  9                     CENTRAL DISTRICT OF CALIFORNIA
              10

              11      LUIZA YEGHIAZARYAN,                      Case No. _____________
              12                 Plaintiff,                    DEFENDANT U.S. RENAL CARE,
                                                               INC.’S NOTICE OF REMOVAL OF
              13           v.                                  CIVIL ACTION TO UNITED
                                                               STATES DISTRICT COURT
              14 U.S. RENAL CARE, INC.; and DOES
                 1 to 100, inclusive,                          [Filed concurrently with Civil Cover
              15                                               Sheet; Certification of Interested Parties
                                                               and Disclosure Statement; Notice of
              16               Defendants.                     Related Cases; Declarations of Mazen I.
                                                               Khatib and Sarah Temple in Support of
              17                                               Removal]___
              18
                                                               Complaint Filed: March 2, 2021
              19                                               Trial Date:       None
                                                               District Judge: Hon. _____________
              20                                                                 Courtroom ___, ______
                                                               Magistrate Judge: Hon. ______________
              21                                                                 Courtroom ___, ______
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                                                                                      Case No. _____________
                                         DEFENDANT U.S. RENAL CARE, INC.’S NOTICE OF
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                  1   TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                  2   DISTRICT OF CALIFORNIA AND TO PLAINTIFF LUIZA
                  3   YEGHIAZARYAN AND HER ATTORNEYS OF RECORD:
                  4         PLEASE TAKE NOTICE THAT defendant U.S. Renal Care, Inc.
                  5   (“Defendant”), by and through the undersigned counsel, hereby removes the above-
                  6   entitled action from the Superior Court of the State of California for the County of
                  7   Los Angeles to the United States District Court for the Central District of California
                  8   pursuant to 28 U.S.C. Sections 1332, 1441(a) and 1446. In support of such removal,
                  9   Defendant states as follows:
              10                              STATEMENT OF JURISDICTION
              11            1.     This Court has original jurisdiction over this action under the diversity
              12      of citizenship statute: 28 U.S.C. § 1332(a). In relevant part, the diversity statute
              13      grants district courts original jurisdiction over civil actions in which the matter in
              14      controversy exceeds $75,000, exclusive of interest and costs, and is between citizens
              15      of different states. As set forth below, this case meets all of the diversity statute’s
              16      requirements for removal and is timely and properly removed by the filing of this
              17      Notice.
              18                            PLEADINGS AND PROCESS ORDERS
              19            2.     On or about March 2, 2021, Plaintiff Luiza Yeghiazaryan (“Plaintiff”)
              20      commenced this action by filing an unverified Complaint in the Superior Court of
              21      California for the County of Los Angeles, entitled Luiza Yeghiazaryan v. U.S. Renal
              22      Care, Inc. and Does 1-100, inclusive, bearing the case number 21STCV08131 (the
              23      “Action” or “Complaint”). Declaration of Mazen I. Khatib (Khatib Decl.), ¶ 2 &
              24      Ex. A.
              25            3.     The Complaint asserts the following six causes of action: 1) breach of
              26      express oral contract not to terminate employment without good cause; 2) breach of
              27      implied-in-fact contract not to terminate employment without good cause;
              28      3) negligent hiring, supervision, and retention; 4) whistleblower retaliation in
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                  1   violation of Labor Code Section 1102.5; 5) wrongful termination in violation of
                  2   public policy; and 6) intentional infliction of emotional distress. The Complaint
                  3   includes a Demand for Jury Trial.
                  4         4.     Defendant was served with the Summons and Complaint on March 4,
                  5   2021. Khatib Decl., ¶ 4 & Ex. C. Defendant was also served with the Summons,
                  6   Civil Case Cover Sheet, Civil Case Cover Sheet Addendum and Statement of
                  7   Location, Notice of Case Assignment, First Amended General Order, and related
                  8   documents. A true and correct copy of the Summons; Civil Case Cover Sheet; Civil
                  9   Case Cover Sheet Addendum and Statement of Location; Notice of Assignment;
              10      First Amended General Order, and the related documents are attached as
              11      Exhibit “B” to the declaration of Mazen Khatib in support of this Notice of
              12      Removal. Khatib Decl., ¶ 3 & Ex. B.
              13            5.     On March 15, 2021, Defendant filed its Answer to Complaint in Los
              14      Angeles County Superior Court. Khatib Decl., ¶ 5 & Ex. D.
              15            6.     On or about March 16 and 17, 2021, Defendant filed a peremptory
              16      challenge pursuant to California Rule of Civil Procedure Section 170.6. Khatib
              17      Decl., ¶ 6 & Ex. E. The Superior Court subsequently issued Notices of Case
              18      Reassignment. Khatib Decl., ¶ 7 & Ex. F.
              19            7.     As set out more fully below, this Action is one over which this Court
              20      has original jurisdiction and is one that may be removed to this Court under
              21      28 U.S.C. §§ 1332(a), 1441(a) and 1446, in that this dispute is between citizens of
              22      different states and the alleged amount in controversy is greater than $75,000.
              23      I.    THE PROCEDURAL REQUIREMENTS OF 28 U.S.C. § 1446 ARE
              24            SATISFIED
              25            8.     In accordance with 28 U.S.C. §1446(a), this Notice is filed in the
              26      District Court in which the action is pending. The Superior Court for the County of
              27      Los Angeles is located within the Central District of California. Therefore, venue is
              28      proper in this Court pursuant to 28 U.S.C. §84(c)(3) because it is the “district and
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                  1   division embracing the place where such action is pending.” 28 U.S.C. §1441(a); see
                  2   also 28 U.S.C. § 84(c) (describing the Central District of California as including Los
                  3   Angeles County).
                  4         9.     In accordance with 28 U.S.C. §1446(a), copies of all process, pleadings,
                  5   and orders served upon Defendant are attached as Exhibits to this Notice.
                  6         10.    In accordance with 28 U.S.C. §1446(b), Defendants’ Notice of Removal
                  7   was filed within 30 days after the March 4, 2021 service of the Complaint on
                  8   Defendant.
                  9         11.    In accordance with 28 U.S.C. §1446(d), a copy of this Notice is being
              10      served upon counsel for Plaintiff and a notice will be filed with the Clerk of the
              11      Superior Court of California for the County of Los Angeles. Notice of Compliance
              12      shall be filed promptly thereafter with this Court.
              13      II.   REMOVAL IS PROPER BECAUSE THIS COURT HAS DIVERSITY
              14            JURISDICTION PURSUANT TO 28 U.S.C. §§ 1332 AND 1441
              15            12.    The district courts shall have original jurisdiction of all civil actions
              16      where the matter in controversy exceeds $75,000 and is between citizens of different
              17      states. 28 U.S.C. §1332(a). As set forth below, Plaintiff’s claim, as alleged in her
              18      Complaint, is removable under 28 U.S.C. §1332(a) (diversity of citizenship).
              19            A.     Diversity of Citizenship Requirement is Established
              20                   1.      Plaintiff Is An Individual And A Citizen Of California
              21            13.    For diversity purposes, an individual is a “citizen” of the state in which
              22      she is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir.
              23      1983). An individual’s domicile is the place she resides with the intention to remain
              24      or to which she intends to return. Kanter v. Warner-Lambert Co., 265 F.3d 853, 857
              25      (9th Cir. 2001). Residence is prima facie evidence of domicile. State Farm Mut.
              26      Auto Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994); Lew v. Moss, 797 F.2d 747,
              27      751 (9th Cir. 1986) (allegations of residency in a state court Complaint can create a
              28      rebuttable presumption of domicile supporting diversity of citizenship); see also
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                  1   State Farm Mut. Auto. Ins. Co., 19 F.3d at 519-20 (allegation by party in state court
                  2   Complaint of residency created a presumption of continuing residence in [state] and
                  3   put the burden of coming forward with contrary evidence on the party seeking to
                  4   prove otherwise).
                  5         14.    Plaintiff alleges she was employed by Defendant within the County of
                  6   Los Angeles from September 2019 through the end of her employment. Complaint,
                  7   ¶¶ 8, 11. Plaintiff’s address, according to Defendant’s personnel records, is in
                  8   Panaroma City, in Los Angeles county, California. Declaration of Sarah Temple
                  9   (“Temple Decl.”), ¶ 5. Therefore, Plaintiff was domiciled in the State of California,
              10      County of Los Angeles. Accordingly, Plaintiff is a citizen of the State of California
              11      for purposes of this removal.
              12                   2.       Defendant Is A Delaware Corporation and not a Citizen of
                                            California
              13
                            15.    A corporation’s citizenship is determined by its state of incorporation
              14
                      and principal place of business. 28 U.S.C. §1332(c)(1). The United States Supreme
              15
                      Court established the proper test for determining a corporation’s principal place of
              16
                      business for purposes of diversity jurisdiction in The Hertz Corporation v. Friend,
              17
                      130 S.Ct. 1181 (2010). The Supreme Court concluded that the “‘principal place of
              18
                      business’ is best read as referring to the place where a corporation’s officers direct,
              19
                      control, and coordinate the corporation’s activities.” Id. at 1184.
              20
                            16.    Defendant is now, and ever since this action commenced has been,
              21
                      incorporated under the laws of Delaware. Temple Decl., ¶ 3.
              22
                            17.    Further, at all relevant times, Defendant’s high-level officers direct,
              23
                      control, and coordinate the corporation's activities from Plano, Texas. None of
              24
                      Defendant’s high-level officers are located in the state of California, nor do they
              25
                      direct Defendant’s activities from California. Temple Decl., ¶¶ 3-4.
              26
                            18.    Defendant’s officers direct, control, and coordinate the corporation’s
              27
                      activities from offices based in Plano, Texas. Temple Decl., ¶¶ 3-4. Additionally,
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                  1   Defendant’s administrative functions, such as payroll, benefits administration, and
                  2   finance are conducted in Plano, Texas. None of Defendant’s corporate
                  3   administrative functions are performed in the state of California. Temple Decl., ¶ 4.
                  4   Thus, Defendant is a citizen of the state of Delaware and Texas, its principal place of
                  5   business. Defendant is therefore not a citizen of the State of California.
                  6         19.    Although Plaintiff has named “Doe” defendants, the citizenship of
                  7   fictitiously-named “Doe” defendants is disregarded for purposes of removal.
                  8   28 U.S.C. § 1441(a); McCabe v. Gen. Foods Corp., 811 F.2d 1336, 1339 (9th Cir.
                  9   1987).
              10            20.    As Plaintiff and Defendant are citizens of different states under the
              11      applicable legal standards, complete diversity exists in this case.
              12            B.     The Amount-in-Controversy Requirement is Satisfied
              13            21.    The Federal Court’s Jurisdiction and Venue Clarification Act of 2011
              14      (“JVCA”), which applies to state and federal lawsuits commenced on or after
              15      January 6, 2012, defines the standard for showing the amount in controversy.
              16      Pub. L. 112-63, Title II, § 205.
              17            22.    Under the JVCA, Congress clarified that the preponderance of the
              18      evidence standard applies to removals under 28 U.S.C. § 1332(a). See H.R. Rep.
              19      112-10 at 16 (“defendants do not need to prove to a legal certainty that the amount in
              20      controversy requirement has been met”). 28 U.S.C. § 1446(c)(2)(A) provides, in
              21      relevant part, that “the notice of removal may assert the amount in controversy if the
              22      initial pleading seeks … a money judgment, but the State practice … permits
              23      recovery of damages in excess of the amount demanded.” Under these
              24      circumstances, “removal of the action is proper on the basis of an amount in
              25      controversy … if the district court finds, by the preponderance of the evidence, that
              26      the amount in controversy exceeds the amount specified in section 1332(a),” or
              27      $75,000. 28 U.S.C. § 1446(c)(2)(B). Accordingly, a removing defendant must
              28
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                  1   demonstrate that the amount in controversy is more than $75,000 by a preponderance
                  2   of the evidence, not to a legal certainty.
                  3         23.    The United States Supreme Court held that, “as specified in §1446(a), a
                  4   defendant’s notice of removal need include only a plausible allegation that the
                  5   amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin
                  6   Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014) (emphasis added). The Ninth
                  7   Circuit has also rejected application of the legal certainty standard for removals. See
                  8   Rodriguez v. AT&T Mobility Servs. LLC, 728 F.3d 975, 981 (9th Cir. 2013) (“A
                  9   defendant seeking removal … must demonstrate, by a preponderance of evidence,
              10      that the aggregate amount in controversy exceeds the jurisdictional minimum”).
              11            24.    A defendant meets this burden when, as here, a plaintiff alleges on the
              12      face of the complaint that damages exceed the requisite amount in controversy.
              13      Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001
              14      (C.D. Cal. March 29, 2002). “In measuring the amount in controversy, a court must
              15      “assum[e] that the allegations of the complaint are true and assum[e that] a jury
              16      [will] return[ ] a verdict for the plaintiff on all claims made in the complaint.” Id.
              17            25.    Even where there is no amount in controversy alleged in the Complaint,
              18      the burden is relatively low and a defendant may rely on plaintiff’s allegations,
              19      which are assumed to be true, and provide supplementary facts or numbers upon
              20      which the amount in controversy can reasonably be calculated. See Korn v. Polo
              21      Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1205 (E.D. Cal. Feb. 27, 2008) (“In
              22      addition to the contents of the removal petition, the court considers ‘summary-
              23      judgment-type evidence relevant to the amount in controversy at the time of
              24      removal,’ such as affidavits or declarations”); Rippee v. Boston Mkt. Corp., 408 F.
              25      Supp. 2d 982, 986 (S.D. Cal. Oct. 14, 2005) (allowing the use of “Defendant’s own
              26      numbers” for “purposes of analyzing the amount in controversy”). Such calculations
              27      are more than sufficient to establish the amount in controversy. See Rippee, 408 F.
              28      Supp. 2d at 986 (“The amount of overtime claims in controversy can … be
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                  1   calculated using a combination of Defendant’s own numbers and Plaintiff’s
                  2   allegations”).
                  3         26.     As explained by the Ninth Circuit, “the amount-in-controversy inquiry
                  4   in the removal context is not confined to the face of the complaint.” Valdez v.
                  5   Allstate Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004) (finding that the Court may
                  6   consider facts presented in the removal petition). In determining the amount in
                  7   controversy, the Court must consider all recoverable damages, including
                  8   compensatory damages, emotional distress damages, punitive damages, statutory
                  9   penalties, and attorneys’ fees. See Hunt v. Washington State Apple Advertising
              10      Comm’n, 432 U.S. 333, 347-48 (1977); Galt G/S v. JSS Scandinavia, 142 F. 3d 1150,
              11      1156 (9th Cir. 1998) (claims for statutory attorneys’ fees to be included in amount in
              12      controversy, regardless of whether such an award is discretionary or mandatory); see
              13      also Bank of Calif. Nat’l Ass’n v. Twin Harbors Lumber Co., 465 F.2d 489, 491 (9th
              14      Cir. 1972).
              15            27.     In her Complaint, Plaintiff seeks economic damages including past and
              16      future lost wages, benefits, damage to her career, penalties and interest on unpaid
              17      wages. Plaintiff also seeks non-economic damages, arising from emotional distress,
              18      including purported humiliation and mental and physical pain and anguish, as well as
              19      punitive damages and attorneys’ fees. (Complaint, ¶¶ 12-16, 21, 25-26, 29, 35-38,
              20      41-44, 48-50 and Prayer for Relief.)
              21            28.     Plaintiff’s Potential Back Pay and Front Pay Claims Are Estimated
              22      To Place $364,167 In Controversy. In her Complaint, Plaintiff alleges that she has
              23      suffered and continues to suffer losses in earnings and other employment benefits
              24      and damages to her career, as a direct and proximate result of Defendant’s alleged
              25      actions. Complaint, ¶¶ 13, 21, 25, 29, 35 and Prayer for Relief subpart 1. Plaintiff
              26      alleges she was terminated effective January 7, 2020. Complaint, ¶ 11. Hence,
              27      Plaintiff puts at issue at least 14 months of lost income to date (at the time of
              28      Removal). Plaintiff earned an annual salary of $115,000.08. Temple Decl., ¶ 5. As
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                  1   such, although Defendant denies Plaintiff is entitled to recover any such damages, if
                  2   Plaintiff is able to recover back wages from her alleged last day worked to the
                  3   present, the amount of that back pay for the period of 14 months following her
                  4   termination alone would amount to approximately $134,166.76 ($9,583.34 x 14).
                  5   Hence, Plaintiff’s potential back pay to date, standing alone, places more than
                  6   $75,000 in controversy.
                  7          29.    Further, if the case proceeds to trial in March 2022, one year from
                  8   removal, Plaintiff would presumably seek another 52 weeks of back pay, which
                  9   would be an additional $115,000.08. Combined, as of any trial one year after
              10      removal, Plaintiff will seek lost earnings of at least $249,166.84 ($134,166.76 lost
              11      wages as of date of removal + $115,000.08 lost wages from date of removal to
              12      potential date of trial).
              13             30.    In addition, front pay awards in California frequently span a number of
              14      years. See, e.g., Bihun v. AT&T Information Systems, Inc., 13 Cal. App. 4th 976,
              15      996-997 (1993) (upholding front pay award under the Fair Employment and Housing
              16      Act that compensated plaintiff for the remainder of his entire working life)
              17      (disapproved on other grounds in Lakin v. Watkins Associated Indus., 6 Cal. 4th 644
              18      (1993)); Cassino v. Reichhold Chemicals, Inc., 817 F.2d 1338, 1346 (9th Cir. 1997)
              19      (stating that a court has discretion to award front pay in lieu of reinstatement in
              20      discrimination matter); Sercu v. Laboratory Corp. of America, 2009 LEXIS109336,
              21      at *8 n.3. (D. Nev. Nov. 9, 2009) (future lost wages alone can satisfy amount in
              22      controversy); James v. Childtime Childcare, Inc., 2007 LEXIS 43753, at *14 n.1
              23      (E.D. Cal. June 1, 2007) (while courts evaluate the amount in controversy at the time
              24      of removal, future lost wages are properly considered in that calculation); see also,
              25      Crum v. Circus Circus Enters., 231 F.3d 1129, 1131 (9th Cir. 2000) (future damages
              26      are properly considered in determining amount in controversy).
              27             31.    Even a modest award of one year of front pay would be $115,000.08 in
              28      additional recovery. See, Traxler v. Multnomah County, 596 F.3d 1007, 1015 (9th
                                                                8                     Case No. _____________
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                  1   Cir. 2010) (upholding District Court’s decision to award nearly four years front pay
                  2   under the Family Medical Leave Act of 1993, in a wrongful termination suit); see
                  3   also, Glenn-Davis v. City of Oakland, 2008 LEXIS 108283 at *11 (N.D. Cal.
                  4   Feb. 12, 2008) (finding three years of front pay “appropriate” in a discrimination
                  5   suit); Ackerman v. Western Elec. Co., Inc., 643 F. Supp. 836, 856 (N.D. Cal. Sept. 2,
                  6   1986) (same); Horsford v. Board Of Trustees Of California State University, 132
                  7   Cal.App.4th 359, 389 (2005) (in a retaliation, discrimination, and wrongful
                  8   termination action brought by three plaintiffs, the court upheld a front pay award that
                  9   compensated one of the plaintiffs for two years); Fritsch v. Swift Transportation
              10      Company of Arizona, LLC, 899 F. 3d 785, 793-94 (9th Cir. 2018) (“if the law entitles
              11      [the party] to recoup those future wages if [he or she] prevails, then there is no
              12      question that future wages are ‘at stake’ in the litigation, whatever the likelihood that
              13      [the party] will actually recover them.”)
              14            32.    Accordingly, a reasonable estimate of Plaintiff’s claims for back pay
              15      and front pay is at least $364,166.92 ($249,166.84 as of date of likely trial +
              16      $115,000.08 lost future wages).
              17            33.    Plaintiff’s Potential Emotional Distress Damages Far Exceed
              18      $75,000. Plaintiff also alleges that she suffered emotional distress as a result of
              19      Defendant’s alleged conduct, and seeks damages for such emotional injury.
              20      Complaint, ¶¶ 14, 36, 41, 48-49 and Prayer for Relief subpart 1. While Plaintiff does
              21      not state a specific amount of damages for emotional distress, “the vagueness of
              22      plaintiffs’ pleadings with regard to emotional distress damages should not preclude
              23      this court from noting these damages are potentially substantial.” Richmond v.
              24      Allstate Ins. Co., 897 F. Supp. 447, 450 (S.D. Cal. 1995) (plaintiff’s failure to make
              25      explicit demands did not prevent satisfaction of amount in controversy). A review of
              26      jury verdicts in California demonstrates that emotional distress awards in cases
              27      alleging the causes of action Plaintiff alleges here commonly exceed $75,000. See
              28
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                  1   Khatib Decl. ¶ 8 & Ex. G. The following cases have resulted in emotional distress
                  2   damages awards in excess of the $75,000 threshold:
                  3             Williams v. Wyndham Vacation Ownership, 2016 WL 8114384 (San
                  4               Francisco County Super. Ct.) ($1,300,000 in emotional distress
                  5               damages where plaintiff was terminated after complaining that
                  6               company sales people were defrauding customers);
                  7             Gruzalski v. Federal Express Corp., No. BC512638, 2018 WL 7046807
                  8               (Los Angeles County Super. Ct.) ($225,000, $100,000, and $260,000
                  9               for pain and suffering respectively for three plaintiffs bringing 1102.5
              10                  claims based on their complaints that defendant released unair-worthy
              11                  and improperly repaired aircrafts to fly);
              12                Saied, M.D. v. Centro Medico Communicty Clinic, BC492856, 2017
              13                  WL 1223575 (Los Angeles County Super. Ct.) ($517,422, and
              14                  1,536,000 for pain and suffering respectively to two plaintiffs where
              15                  they alleged the clinic was operated without proper oversight from a
              16                  licensed medical doctor);
              17                Qui v. Three Rivers Provider Network Inc., 2019 WL 7762121 (San
              18                  Diego County Super. Ct.) ($2,500,000 for pain and suffering where
              19                  plaintiff was terminated after first disclosing and later refusing to
              20                  participate in illegal conduct);
              21                Nolasco v. Scantibodies Laboratory Inc., 2016 WL 3857877 (San Diego
              22                  County Super. Ct.) ($200,000, and 350,000 for pain and suffering
              23                  respectively to two plaintiffs who were terminated after complaining to
              24                  the FDA that employer failed to comply with federal regulations
              25                  regarding plasma collection);
              26                Hernandez v. VMS Auto Body Collision Center Inc. et al, BC717285,
              27                  2019 WL 8272669 (Los Angeles County Super. Ct.) ($1,350,000 for
              28                  pain and suffering where plaintiff complained about working in an
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                  1                  unsafe environment without personal protective equipment and about
                  2                  wage and hour violations of the labor code, ultimately leading to his
                  3                  termination);
                  4                Norman, PH.D v. Hanna Boys Center Inc., SCV260065, 2018 WL
                  5                  5311339 (Sonoma County Super. Ct.) (award of $500,000 for pain and
                  6                  suffering to employee terminated shortly after complaining that the
                  7                  group home was not providing the boys a safe environment);
                  8                Willard v. Okonkwo, BC459435, 2012 WL 7159847 (Los Angeles
                  9                  County Super. Ct.) ($226,250 for noneconomic damages in retaliation
              10                     case where plaintiff was terminated after refusing to complete
              11                     fraudulent immigration paperwork at employer's behest).
              12            34.      Plaintiff’s allegation that Defendant terminated her employment as a
              13      result of retaliatory animus is similar to both the factual and legal issues raised in
              14      many of the cases above. When measured in light of the allegations and damages
              15      awarded in the cases cited above, even from a conservatively measured standpoint,
              16      Plaintiff’s prayer for emotional distress damages alone places at least $75,000 in
              17      controversy.
              18            35.      Plaintiff Further Claims Entitlement to Punitive Damages. In
              19      addition to the damages discussed above, Plaintiff seeks punitive damages.
              20      Complaint, ¶¶ 15, 34, 38, 43, 50 and Prayer for Relief subpart 2. The Court must
              21      also consider Plaintiff’s request for punitive damages in determining the amount in
              22      controversy. Gibson v. Chrysler Corp., 261 F.3d 927, 945 (9th Cir. 2001) (“It is well
              23      established that punitive damages are part of the amount in controversy in a civil
              24      action”); Davenport v. Mutual Benefit Health and Accident Ass’n, 325 F.2d 785, 787
              25      (9th Cir. 1963) (punitive damages must be taken into account where recoverable
              26      under state law); Romo v. FFG Ins. Co., 397 F. Supp. 2d 1237, 1240 (C.D. Cal.
              27      2005) (where authorized, punitive damages are considered as part of the amount in
              28      controversy in meeting the prerequisite for diversity jurisdiction). For amount in
                                                                11                          Case No. _____________
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                  1   controversy purposes, the court must conclude that Plaintiff will prevail on her claim
                  2   for punitive damages. See, Richmond v. Allstate Ins. Co., 897 F. Supp. 447, 449-50
                  3   (S.D. Cal. April 25, 1995) (amount in controversy includes potential recovery of
                  4   punitive damages award).
                  5         36.      Punitive damages may be substantial and in some cases even exceed the
                  6   amount of compensatory damages. In fact, courts have affirmed jury verdicts
                  7   exceeding $1 million in punitive damages in alleged wrongful termination cases.
                  8   See, e.g., Leggins v. Thrifty Payless Inc. D/B/A Rite Aid Corporation,
                  9   No. BC511139, 2015 Jury Verdicts LEXIS 7889 (Los Angeles County Sup. Ct.)
              10      (awarding $5,000,000 in punitive damages in case involving claims of age, disability
              11      and race harassment, discrimination, retaliation and wrongful termination, among
              12      other things); Lopez v. Bimbo Bakeries USA, Inc., No. CGC-05-445104, 2007 Jury
              13      Verdicts LEXIS 40507 (Cal. Super. Ct. May 22, 2007) (awarding $2,340,700 to
              14      former delivery driver claiming employer terminated her because of her disability
              15      leave). Further, in State Farm Mut. Automobile Ins. Co. v. Campbell, 538 U.S. 408
              16      (2004), the United States Supreme Court held that the longstanding historical
              17      practice of setting punitive damages at two, three, or four times the size of
              18      compensatory damages, while “not binding,” is “instructive,” and that “single-digit
              19      multipliers are more likely to comport with due process.”
              20            37.      In Leggins, 2015 Jury Verdicts LEXIS 7889, the plaintiff alleged he was
              21      terminated in retaliation for making complaints and taking time off work relating to
              22      his disability. Accepting the plaintiff’s facts, the jury awarded him 5 million dollars
              23      in punitive damages while compensatory damages totaled approximately 3.8 million
              24      dollars. Id.
              25            38.      Here, similar to the facts presented in the Leggins case, Plaintiff is
              26      alleging that Defendant retaliated against her based on her purported complaint about
              27      workplace safety and wrongfully terminated her employment. Therefore, in addition
              28      to Plaintiff’s special and general damages discussed above, and, again, even from a
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                  1   conservatively measured standpoint, each of Plaintiff’s causes of action and her
                  2   prayer for punitive damages demonstrate that the amount in controversy exceeds
                  3   $75,000—even though Defendant has a legitimate non-retaliatory reason for its
                  4   actions and defenses. See Haase v. Aerodynamics Inc., No. 2:09-cv-01751-MCE-
                  5   GGH, 2009 LEXIS 96563, at *13 (E.D. Cal. October 19, 2009) (finding that even a
                  6   minimum award of punitive damages would satisfy the jurisdictional requirement).
                  7         39.    It Is More Likely Than Not That Attorneys’ Fees For Bringing A
                  8   FEHA Claim to Trial Exceed $75,000. Plaintiff seeks an award of attorneys’ fees.
                  9   Complaint, ¶¶ 16, 26, 37, 44 and Prayer for Relief subpart 4. Attorneys’ fees are
              10      properly considered in calculating the amount-in-controversy for purposes of
              11      removal on grounds of diversity jurisdiction. Galt G/S, 142 F.3d at 1156 (claims for
              12      statutory attorneys’ fees to be included in amount in controversy, regardless of
              13      whether such an award is discretionary or mandatory); Haase, 2009 LEXIS 96563, at
              14      *13-14 (“because attorney's fees are expressly authorized by statute, such fees may
              15      be included in determining the amount in controversy”).
              16            40.    The Court may consider all attorneys’ fees that at the time of removal
              17      can reasonably be anticipated will be incurred over the life of the case. See
              18      Goldberg v. CPC Int'l, Inc., 678 F.2d 1365, 1367 (9th Cir. 1982) (noting that
              19      “potential attorneys’ fees” could be considered for purposes of meeting the amount
              20      in controversy requirement) (emphasis added); Brady v. Mercedes-Benz USA, Inc.,
              21      243 F. Supp. 2d 1004, 1011 n. 4 (N.D. Cal. July 12, 2002) (“While an estimate of the
              22      amount in controversy must be made based on facts known at the time of removal,
              23      that does not imply that items such as future income loss, damages, or attorneys’ fees
              24      likely to be incurred cannot be estimated at the time of removal”).
              25            41.    In employment cases, fee awards alone normally eclipse the $75,000
              26      amount in controversy requirement for diversity jurisdiction. See Simmons v. PCR
              27      Technology, 209 F. Supp. 2d 1029, 1035 (N.D. Cal. July 2, 2002) (“The court notes
              28      that in its twenty-plus years’ experience, attorneys’ fees in individual discrimination
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                  1   cases often exceed the damages”); see also Akers v. Cnty. of Los Angeles, 95 Cal.
                  2   App. 4th 1441, 1445 (2002) (affirming “$249,345 in attorney fees” in gender
                  3   discrimination case); Equal Emp’t Opportunity Comm’n v. Albion River Inn, Inc.,
                  4   No. 06CV05356 (SI), 2008 Jury Verdicts LEXIS 33867 (N.D. Cal. 2008) (awarding
                  5   $75,000 in attorneys’ fees in a single plaintiff case).
                  6         42.     Thus, Defendant conservatively estimates that Plaintiff’s attorneys’ fees
                  7   in this matter are likely to cause Plaintiff’s alleged damages to far exceed the
                  8   jurisdictional minimum of $75,000.
                  9         43.     The Amount In Controversy Exceeds $75,000. When Plaintiff’s
              10      potential emotional distress damages, and attorneys’ fees are added to Plaintiff’s
              11      alleged lost wages, it is further evidence that, “more likely than not,” the amount at
              12      issue in this lawsuit far exceeds the minimum amount required for diversity
              13      jurisdiction. Sanchez v. Monumental Life Ins. Co., 95 F.3d 856, 860 (9th Cir. 1996),
              14      opinion amended and superseded on denial of reh’g, 102 F.3d 398 (9th Cir. 1996).1
              15      Since diversity of citizenship exists between the Plaintiff and Defendant, and the
              16      matter in controversy between the parties is in excess of $75,000, exclusive of
              17      interests and costs, this Court has original jurisdiction of the action pursuant to
              18      28 U.S.C. section 1332(a)(1). This action is therefore a proper one for removal to
              19      this Court.
              20                                   NO JOINDER REQUIRED
              21            44.     Unnamed, or Doe defendants are not required to join in removal.
              22      Emrich v. Touche Ross & Co., 846 F.2d 1190 n.1 (9th Cir. 1988) (Doe defendants
              23      need not join in removal).
              24

              25

              26      1
                   By estimating the amount Plaintiff may recover if she prevails, Defendant does not
              27 concede  that Plaintiff will prevail on her claims or that, if she prevails, she is entitled
                 to damages in any particular amount or at all. Defendant reserves the full right to
              28 dispute Plaintiff’s claims with respect to both liability and damages.
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                  1                       NOTICE OF REMOVAL TO PLAINTIFF
                  2         45.    In accordance with 28 U.S.C. §1446(d), Defendant will promptly give
                  3   written notice to Plaintiff of the filing of this Notice of Removal, and will file a copy
                  4   of the Notice with the clerk of the Superior Court of the State of California, County
                  5   of Los Angeles. Further, in accordance with Federal Rule of Civil Procedure 7.1 and
                  6   Central District of California Local Rule 7.1, respectively, Defendant concurrently
                  7   files its Certification of Interested Parties and Disclosure Statement.
                  8                                PRAYER FOR REMOVAL
                  9         46.    WHEREFORE, because this civil action is between citizens of different
              10      states and the matter in controversy exceeds $75,000, exclusive of interest and costs,
              11      Defendant respectfully requests that this Court exercise its removal jurisdiction over
              12      this action. Accordingly, Defendant prays that this civil action be removed from the
              13      Superior Court of the State of California, County of Los Angeles, to the United
              14      States District Court of the Central District of California.
              15

              16      DATED: April 2, 2021                    OGLETREE, DEAKINS, NASH, SMOAK &
                                                              STEWART, P.C.
              17

              18                                              By:
                                                                    Johnnie A. James
              19                                                    Mazen I. Khatib
              20                                              Attorneys for Defendant
                                                              U.S. RENAL CARE, INC.
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